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                 EXHIBIT 11
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From: Frank Cottrell <fcottrell@brileyfin.com>
Sent: Wednesday, November 10, 2021 4:22 PM
To: Hughes, Patrick <Patrick.Hughes@haynesboone.com>; Rose, Jorian L. <jrose@bakerlaw.com>; Green, Elizabeth A.
<egreen@bakerlaw.com>; Mark Shapiro <mshapiro@brileyfin.com>; Delaney, Michael T. <mdelaney@bakerlaw.com>;
Esmont, Joseph M. <jesmont@bakerlaw.com>
Cc: McDonald, Bill <Bill.McDonald@haynesboone.com>; Wyrick, Martha <Martha.Wyrick@haynesboone.com>
Subject: RE: Limetree Bay Pushes Out Auction 3 Days to Nov. 15‐‐Auction, lead bid etc

EXTERNAL: Sent from outside Haynes and Boone, LLP

Pat,

Copying @Delaney, Michael T.and @Esmont, Joseph M. who I am meeting w/ this evening to discuss APA’s.

Re: addl. categories, we are referencing catalyst and man camp – both items discussed at length w/ your commercial
team and they have been aware we are courting specialized groups interested in these.

With everything submitted up to this time, doesn’t look like we’ll be designating a stalker on this and the procedures
don’t require sharing non‐stalker APA’s.

Definitely trying to be in position Sunday as opposed to Monday morning,


                                 Frank D. Cottrell
                                 Director

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                                 VCard




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